The will of Nicholas Reckinger was offered for probate in Wayne county. Objections to its probate were filed and motion to dismiss the proceeding was made on the ground that deceased was not a resident of Wayne county but was a resident of Macomb county at the time of his death. The contest was certified to the circuit court for trial. In circuit court the motion to dismiss was renewed, and granted.
In the briefs the only question argued is whether deceased was a resident of Wayne or Macomb county when he died. The question is one of fact. The facts are in dispute and the great preponderance of the testimony sustains the finding of the court that he was a resident of Macomb county.
The order dismissing the appeal and petition for probate of the will for lack of jurisdiction is affirmed, with costs.
NELSON SHARPE, C.J., and POTTER, NORTH, WIEST, BUTZEL, and EDWARD M. SHARPE, JJ., concurred. BUSHNELL, J., did not sit. *Page 393 